Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 1 of 15

IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF COLUMBIA

Holding a Criminal Term
Grand Jury Sworn in on August 11, 2021

UNITED STATES OF AMERICA : Grand Jury Original

Vv. : VIOLATIONS:

MARTIN KAO, : 18 U.S.C. § 371
: (Conspiracy)

LAWRENCE “KAHELE” LUM KEE, _ : 52 U.S.C. §§ 30122, 30109 and 2
i (Contributions in the Name of Another)

and CLIFFORD CHEN, ; 52 U.S.C. §§ 30119, 30109 and 2
: (Contributions by Government
Contractors)

18 U.S.C. §§ 1001 and 2
(False Statements)

Defendants.

INDICTMENT

The Grand Jury charges that at all times material to this indictment, on or about the dates

stated below:
Introduction
Relevant Individuals and Entities

1. Defendant MARTIN KAO was the President and CEO of Company A.

2. Company A was based in Hawaii and operated additional offices in Maine,
Washington, D.C., Rhode Island, Michigan, Oklahoma, Kansas, and South Carolina. It designed
and analyzed ship hull forms, ocean structures, underwater lifting bodies, and coupled

hydrodynamic systems. Company A was a federal contractor servicing contracts for the U.S.
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 2 of 15

Department of Defense.
3. Defendant LAWRENCE LUM KEE was Company A’s Accountant.
4, Defendant CLIFFORD CHEN was Company A’s Chief Financial Officer.
5. The Society of Young Women Scientist and Engineers (SYWSE) was a limited

liability corporation incorporated in Hawaii on November 26, 2019.

6. Individual A was KAO’s spouse and the registered agent and manager for the
SYWSE.
7. Candidate A was a candidate for the office of United States Senator, with a primary

election on July 14, 2020, and a general election on November 3, 2020.

8. Campaign Committee A was Candidate A’s authorized federal campaign
committee.
9. Political Committee A was registered with the Federal Election Commission

(“FEC”) as an independent expenditure-only political committee, also known as a “SuperPAC.”
Political Committee A made expenditures in support of Candidate A.
The Election Act
10. The Federal Election Campaign Act of 1971, as amended, Title 52, United States
Code, § 30101, et seg. (“Election Act”), imposed financial limits in the election of candidates for
federal office, including the office of United States Senator, and provided for public disclosure of
the financing of federal election campaigns, as follows:
a. The Election Act limited the amount and sources of money that may be
contributed to a federal candidate or a federal candidate’s authorized committee. The Election Act
also limited the sources of money that may be contributed to a federal independent expenditure-

only political committee.
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 3 of 15

b. For the 2020 election cycle, the Election Act limited primary and general
election campaign contributions to $2,800 per election, for a total of $5,600, from any one
individual to any one federal candidate.

c. The Election Act prohibited a person from making a contribution in the
name of another person, including by giving funds to a “straw” or “conduit” contributor for the
purpose of having the straw donor or conduit pass the funds on to a federal candidate as his or her
own contribution. The Election Act also prohibited a person from knowingly permitting his name
to be used to effect such a conduit contribution.

d. The Election Act prohibited federal government contractors from making
contributions, or from promising to make any such contribution, to a federal candidate or political
committee, including SuperPACs, or to any person for any political purpose or use.

11. The FEC was an agency of the United States, located in Washington, D.C., with
Jurisdiction to administer and enforce the Election Act. The FEC was responsible for receiving
and making available to the public specific, accurate information about the amounts and sources
of contributions to federal candidates and political committees.

12. The Election Act and the FEC required authorized campaign committees and
independent expenditure-only political committees to file periodic reports of receipts and
disbursements identifying, among other things, each person that made a contribution to such
committee during the relevant reporting period whose contribution or contributions had an
aggregate amount or value in excess of $200 within, respectively, the election cycle or the calendar

year, together with the date and the amount of any such contribution.
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 4 of 15

COUNT ONE
(Conspiracy)

13. Paragraphs 1 through 12 are realleged and incorporated herein by reference.
14. From July 1, 2019, through March 27, 2020, in the District of Columbia and
elsewhere, the defendants,
MARTIN KAO,
CLIFFORD CHEN, and
LAWRENCE LUM KEE
with others known and unknown, did knowingly conspire, confederate, and agree together and
with each other:
a. To defraud the United States by impairing, obstructing, and defeating the
lawful functions of the FEC; and,
b. To commit one or more of the following offenses against the United States:
i. to knowingly and willfully make contributions in the name of
another person and permit one’s name to be used to effect such contributions, and cause another
to accept contributions made by one person in the name of another person, which contributions
aggregated $25,000 or more in calendar year 2019, in violation of 52 U.S.C. §§ 30109(d)(1)(A)(i)
and 30122; and,

ii. to knowingly and willfully make, and cause to be made, directly and
indirectly to Campaign Committee A and Political Committee A contributions of money by
persons having entered into a contract with the United States and a department and agency thereof
for the rendition of personal services and the furnishing of material, supplies, and equipment to

the United States and its departments and agencies, for which Congress had appropriated funds

and which had commenced but on which performance was not complete, which contributions
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 5 of 15

aggregated $25,000 or more in calendar year 2019, in violation of 52 U.S.C. §§ 30109(d)(1)(A)()
and 30119.
Purposes of the Conspiracy
15. A purpose of the conspiracy was for the conspirators and Company A to attempt to
gain favor with Candidate A by making unlawful, excessive campaign contributions to Campaign
Committee A and Political Committee A through conduits and with federal contractor funds.
16. A purpose of the conspiracy was to conceal the true source of the unlawful
campaign contributions orchestrated by KAO, LUM KEE, and CHEN.
Manner and Means
17. The conspiracy was carried out through the following manner and means, among
others:
a. After the conspirators had contributed the maximum lawful amounts to
Campaign Committee A, they made additional, unlawful contributions;
b. The conspirators used Company A corporate credit cards to make unlawful
contributions;
C. The conspirators used conduits to disguise the true source of unlawful
contributions;
d. The conspirators created the SYWSE, a shell company, to disguise the

source of unlawful contributions;

e. The conspirators used prohibited federal contractor funds to make unlawful
contributions;

f. The conspirators fabricated false justifications for payments to conduits;

g. The conspirators caused Campaign Committee A and Political Committee
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 6 of 15

A to file false reports with the FEC; and,
h. The conspirators obstructed the FEC’s lawful function of providing the
public with accurate information about the source of the campaign contributions.
Overt Acts
KAO Family Conduit Contributions

18. After KAO and his spouse reached the lawful limit for contributions to Campaign
Committee A, KAO devised and executed a plan for multiple relatives to make unlawful conduit
contributions using KAO’s money, as follows.

19. By May 31, 2019, both KAO and Individual A had met or exceeded the maximum
allowable contribution limits to Campaign Committee A for the primary and general elections.

20. On July 1, 2019, KAO gave money to six of his relatives—Individual B, Individual
C, Individual D, Individual E, Individual F, and Individual G—so that they could make conduit
political contributions to Campaign Committee A, as directed by KAO.

21. On July 1, 2019, KAO gave Individual B $5,200 by check drawn from KAO’s
personal bank account.

22. On July 1, 2019, KAO gave Individual C, Individual D, Individual E, Individual F,
and Individual G each $5,600 by checks drawn from KAO’s personal bank account.

23. On August 2, 2019, Individual G sent a file titled, “[Campaign Committee A]
Contribution Form.pdf” to KAO by email. The file contained Individual G’s contribution form to
Campaign Committee A, which explicitly stated that Individual G’s signature on the form “verifies
that this contribution represents my/our personal funds” and advised Individual G of the applicable
contribution limits and that contributions from corporations and federal government contractors

were prohibited. In the body of this email, Individual G wrote, “All good? wasn’t sure if I filled
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 7 of 15

it out right.” KAO responded by email the same day, “All good! Thanks!”

24. On August 18, 2019, Individual B made conduit contributions to Campaign
Committee A using KAO’s funds. In making this contribution, Individual B certified that the
contributions represented personal funds and were not drawn from an account maintained by an
incorporated entity or other prohibited sources.

25. On August 18, 2019, Individual C made conduit contributions to Campaign
Committee A using KAO’s funds. In making this contribution, Individual C certified that the
contributions represented personal funds and were not drawn from an account maintained by an
incorporated entity or other prohibited sources.

26. On August 18, 2019, Individual D made conduit contributions to Campaign
Committee A using KAO’s funds. In making this contribution, Individual D certified that the
contributions represented personal funds and were not drawn from an account maintained by an
incorporated entity or other prohibited sources.

27. On August 18, 2019, Individual E made conduit contributions to Campaign
Committee A using KAO’s funds. In making this contribution, Individual E certified that the
contributions represented personal funds and were not drawn from an account maintained by an
incorporated entity or other prohibited sources.

28, On August 18, 2019, Individual F made conduit contributions to Campaign
Committee A using KAO’s funds. In making this contribution, Individual F certified that the
contributions represented personal funds and were not drawn from an account maintained by an
incorporated entity or other prohibited sources.

29. On August 18, 2019, Individual G made conduit contributions to Campaign

Committee A using KAO’s funds. In making this contribution, Individual G certified that the
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 8 of 15

contributions represented personal funds and were not drawn from an account maintained by an
incorporated entity or other prohibited sources.

30. On September 19, 2019, Individual G texted KAO to inform KAO that Individual
G’s bank had paused his refinance because it wanted information about the $5,600 he had been
provided by KAO. Individual G wrote in a text, “I just told them it’s rental income from a
condominium we own and that you your company manages. Im thinking I can just draw up some
kind of payment letter, from you or [Company A], that says payment for rental income... what do
you think?” KAO responded, “Ok. Can list me as the point of contact if they need to verify.”

31. On October 15, 2019, Campaign Committee A reported to the FEC the following

false information about these contributions:

 

 

 

 

 

 

 

 

 

 

 

Date Contributor Amount

$5200 (One contribution of $2,800
August 18, 2019 Individual B and one contribution of $2,400)

$5600 (Two contributions of
August 18, 2019 Individual C $2,800)

$5600 (Two contributions of
August 18, 2019 Individual D $2,800)

$5600 (Two contributions of
August 18, 2019 Individual E $2,800)

$5600 (Two contributions of
August 18, 2019 Individual F $2,800)

$5600 (Two contributions of
August 18, 2019 Individual G $2,800)

 

 

Chen and Lum Kee Family Conduit Contributions
32. KAO, CHEN, and LUM KEE also devised and executed a plan for CHEN, LUM
KEE, and relatives of CHEN and LUM KEE to make unlawful contributions to Campaign
Committee A using Company A’s federal contracting funds, as follows.

33. On September 16, 2019, KAO sent an emai! from his Company A business email
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 9 of 15

account to Campaign Committee A’s Director of Finance, stating in part, “We are here to help
anyway we can ... financially or whatever.” The campaign representative reminded KAO that he
had already contributed the maximum allowable amount, but wrote in part, “if you have friends or
family members that would be willing to donate please don’t hesitate to send them my way.” KAO
responded, “[jJust want to let you know, you’re going to see two more max out donation of
$5,600/each come in later today.” KAO first indicated that the two contributions would come
from Company A’s Chief Operating Officer and KAO’s Company A personal assistant. Hours
later, he advised that Individual H and Individual I—relatives of CHEN and LUM KEE,
respectively—would instead make the contributions.

34, On September 17, 2019, KAO sent an email to CHEN and LUM KEE. The email

3

subject line was, “Let’s Discuss in person,” and the email included only an internet address
associated with contributions to Campaign Committee A.

35. The same day, CHEN and LUM KEE each used their Company A corporate credit
cards—paid for by funds drawn from a bank account that received payment for Company A’s
federal government contracts—to make $5,600 contributions to Campaign Committee A. CHEN
and LUM KEE shared proof of their contributions as follows:

a. CHEN forwarded KAO and LUM KEE a receipt for a $5,600 contribution made by
CHEN to Campaign Committee A. The address listed for the contribution was the address for
Company A’s office, and the email listed for the contribution was CHEN’s Company A business
email address. On September 17, 2019, KAO responded to CHEN and LUM KEE and said,
“‘Kahele: Please do one also for $5,600 on your Amex and send me confirmation. Thx.”

b. LUM KEE forwarded KAO and CHEN a receipt for a $5,600 contribution made by

LUM KEE to Campaign Committee A. The email was addressed to “Lawrence,” the address listed
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 10 of 15

for the contribution was the address for Company A’s office, and the email listed for the
contribution was LUM KEE’s Company A business email address. In this email, LUM KEE
wrote, “See below. Thanks.”

36. On September 25, 2019, CHEN forwarded to LUM KEE the email that KAO had
sent CHEN and LUM KEE on September 17, with the internet address for contributions to
Campaign Committee A.

37. On September 26, 2019, Company A’s treasurer signed sequential checks to CHEN
and LUM KEE from the Company A general account. The check to CHEN was for $6,000 and the
check to LUM KEE was for $5,218.88. LUM KEE and CHEN cashed the checks the same day.

38. On September 26, 2019, a contribution in the name of Individual I was made to
Campaign Committee A.

39. On September 26, 2019, a contribution in the name of Individual H was made to
Campaign Committee A.

40. Also on September 26, 2019, LUM KEE forwarded a receipt from Campaign
Committee A for a $5,600 conduit contribution made by Individual I from LUM KEE’s personal
email address to LUM KEE’s Company A business email address.

Al. On September 27, 2019, CHEN deposited $5,600 cash into his personal bank
account.

42. On October 1, 2019, CHEN wrote a $5,600 check from the same account to
Individual H. The check was used as a credit towards the balance of a credit card in Individual H’s

name used to make a conduit contribution to Campaign Committee A.

10
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 11 of 15

43. On October 15, 2019, Campaign Committee A reported to the FEC the following

false information about these contributions:

 

 

 

 

 

 

 

 

 

 

Date Contributor Amount
September 17, 2019 Clifford CHEN $5,600 (Two contributions of $2,800)
September 17, 2019 Lawrence LUM KEE $5,600 (Two contributions of $2,800)
September 26,2019 _| Individual H $5,600 (Two contributions of $2,800)
September 26, 2019 Individual I $5,600 (Two contributions of $2,800)
SYWSE Contribution

44, KAO, CHEN, and LUM KEE further devised and executed a plan to create a shell
company—S Y WSE—through which to funnel an unlawful contribution of $150,000 of Company
A’s federal contractor funds to Political Committee A, as follows.

45, On November 21, 2019, LUM KEE sent an email to KAO and CHEN’s Company
A accounts with the subject, “New LLC.” It stated, “Looks like we can setup a new LLC Pretty
vaguely. Let me know who you want to list as the registered agent, manager and the address to
use and I can get started when you are read. Thanks.” KAO responded in part, “Name of LLC:
[SYWSE].”

46. On November 22, 2019, KAO sent an email with the title “Political Committee A]
Good to Go,” to CHEN and LUM KEE, stating, “Ok, Everyone is okay with this. Please proceed
with setting up. Thanks!”

47. On November 26, 2019, KAO caused his Company A personal assistant to open a
P.O. Box in the name of SYWSE in Honolulu, Hawaii. LUM KEE sent an email to KAO and
CHEN stating, in part, “[KAO’s Company A personal assistant] obtained PO box. Once obtained,
I will fill in address in the attached Operating Agreement and file Articles of Organization, obtain

FEIN number.”

11

 
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 12 of 15

48. Also on November 26, 2019, SY WSE was formed as a limited liability corporation
in Hawaii, using the same P.O. Box as its mailing address. Individual A was named as SY WSE’s
registered agent and manager.

49. In December 2019, KAO met with a representative of Political Committee A in
Washington, D.C., to discuss a forthcoming contribution from SY WSE.

50. On December 26, 2019, LUM KEE wrote a check for $150,000 from Company A’s
corporate account to SY WSE.

51. On December 27, 2019, the check was deposited into SY WSE’s checking account.
This $150,000 constituted SYWSE’s only funds at the time.

52. The same day, KAO caused SYWSE to make a $150,000 contribution to Political
Committee A by check. KAO originally signed the check, but it was rejected because he was not
an authorized signatory on the account. Individual A then signed the check, and Political
Committee A received the $150,000 contribution in Washington, DC.

53. On December 31, 2019, Political Committee A reported the contribution from
SYWSE to the FEC.

54. On February 3, 2020, the same day that public reporting of allegations that SY WSE
had been used to make illegal campaign contributions, KAO caused his Company A personal
assistant to close the P.O. Box for the SY WSE.

(In violation of Title 18, United States Code, Section 371)

COUNT TWO
(Conduit Contributions)

55. The allegations contained in Paragraphs | through 12 and 18 through 54 of this
Indictment are realleged and incorporated herein by reference.

56. From November 26, 2019, through February 3, 2020, in the District of Columbia

12
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 13 of 15

and elsewhere, the defendants,
MARTIN KAO,

CLIFFORD CHEN, AND

LAWRENCE LUM KEE
did knowingly and willfully make contributions to Political Committee A in the name of another
person, and knowingly and willfully permitted SYWSE’s name to be used to effect such
contributions, and did knowingly and willfully cause Political Committee A to accept contributions
made by one person in the name of another person, which aggregated $25,000 or more in calendar

year 2019,

(In violation of Title 52, United States Code, Sections 30122 and 30109(d)(1)(A)(i); and Title
18, United States Code, Section 2)

COUNT THREE
(Government Contractor Contributions)

57. The allegations contained in Paragraphs 1 through 12 and 18 through 54 of this
Indictment are realleged and incorporated herein by reference.
58. From November 26, 2019, through February 3, 2020, in the District of Columbia
and elsewhere, the defendants,
MARTIN KAO,
CLIFFORD CHEN, AND
LAWRENCE LUM KEE
did knowingly and willfully make, and cause to be made, directly and indirectly, to Political
Committee A contributions of money by persons having entered into a contract for the rendition
of personal services and the furnishing of any material, supplies, and equipment to the United
States and its departments and agencies, for which Congress had appropriated funds and which

had commenced but on which performance was not complete, which aggregated $25,000 or more

in calendar year 2019.

13
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 14 of 15

(In violation of Title 52, United States Code, Sections 30119 and 30109(d)(1)(A)(i); and Title
18, United States Code, Section 2)

COUNT FOUR
(False Statements)

59. The allegations contained in Paragraphs 1 through 12 and 18 through 54 of this
Indictment are realleged and incorporated herein by reference.

60. On August 18, 2019, in the District of Columbia and elsewhere, the defendant,

MARTIN KAO
did knowingly and willfully cause the submission of a material false, fictitious, and fraudulent
statement and representation in a matter within the jurisdiction of the executive branch of the
government of the United States; that is, KAO caused Campaign Committee A to falsely record in
a report to the Federal Election Commission dated October 15, 2019, that Individual B, Individual
C, Individual D, Individual E, Individual F and Individual G each contributed a total of $5,600
when the contributions actually came from someone other than Individual B, Individual C,
Individual D, Individual E, Individual F and Individual G.
(In Violation of Title 18, United States Code, Sections 1001 and 2)

COUNT FIVE
(False Statements)

61. ‘The allegations contained in Paragraphs 1 through 12 and 18 through 54 of this
Indictment are realleged and incorporated herein by reference.
62. On December 27, 2019, in the District of Columbia and elsewhere, the defendant,
MARTIN KAO
did knowingly and willfully cause the submission of a material false, fictitious, and fraudulent
statement and representation in a matter within the jurisdiction of the executive branch of the

government of the United States; that is, KAO caused Political Committee A to falsely record in a

14
Case 1:22-cr-00048-CJN Document1 Filed 02/10/22 Page 15 of 15

report to the Federal Election Commission dated January 31, 2020, that the SYWSE contributed

$150,000 to Political Committee A when the contribution actually came from someone other than

the SYWSE.
(In Violation of Title 18, United States Code, Sections 1001 and 2)
A TRUE BILL:
FOREPERSON
COREY « Digitally signed by COREY
AMUNDSON
AMUNDSON Date: 2022.02.09 13:19:01 -05'00'

 

COREY R. AMUNDSON
CHIEF, PUBLIC INTEGRITY SECTION

Matthias Ht Gansrmn fof

MATTHEW M. GRAVES
ATTORNEY FOR THE UNITED STATES
IN AND FOR THE DISTRICT OF COLUMBIA

 

15
